                                      DISTRICT JUDGE'S MINUTES
                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF ARIZONA – TUCSON
Senior U.S. District Judge: Raner C. Collins       Date: November 20, 2019
USA v. Scott Daniel Warren                         Case Number: CR-18-00223-TUC-RCC (DTF)

Assistant U.S. Attorney: Anna Wright/Nathaniel Walters/Glenn McCormick
Attorney for Defendant: Gregory Kuykendall/Amy Knight (Retained)
Deputy Clerk: Sherry Gammon
Court Reporter: Erica McQuillen
Interpreter: N/A
Defendant: ☒ Present ☐ Not Present ☒ Released ☐ Custody ☐ Summons ☐ Writ

JURY TRIAL: Day 6
9:24 a.m. – In absence of the jury, the Court issues a ruling regarding the previously argued issue of
the testimony of Defense witness Susannah Brown. The Court does not find the witness unavailable
and her testimony is not admitted.

The jury enters at 9:40 a.m.
A stipulation regarding the material witnesses is read into the record by the Court.

The Defense rests at 9:41 a.m.
The Government does not call rebuttal witnesses.

9:42 a.m. – The Government’s closing argument is presented by Mr. Walters.

Recess taken 10:07 a.m. - 10:17 a.m.
The Defendant’s closing argument is presented by Mr. Kuykendall.

Recess taken 11:17 a.m. - 11:27 a.m.
The Government’s rebuttal closing argument is presented by Mr. Walters.

The jury is instructed at 11:57 a.m.
12:18 p.m. – Jurors #31, 41, 35 and 36 are selected as alternates.

Lunch recess is taken 12:20 p.m.-1:25 p.m. Lunch is provided to the jurors and the alternates. The
alternates are excused and jurors begin deliberation.

A verdict is received at 3:15 p.m.
The jury enters at 3:35 p.m. The Defendant is found Not Guilty as to Counts 2 and 3 of the
Indictment.
The jury is polled.
The jury is excused at 3:51 p.m.
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 In absence of the jury, the Court issues a ruling as to the Defendant’s case 17-00341MJ-TUC-RCC.
(See separate minute entry filed in the Defendant’s case 17-00341MJ-TUC-RCC).


                                                            Jury Trial: 2 Hours 43 Minutes
                                                            Start: 9:24 a.m. Stop: 3:51 p.m.
                                                            Jury deliberation: 2 Hours 10 Minutes
                                                            1:25 p.m. – 3:35 p.m.




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